               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF ILLINOIS
                         EASTERN DIVISION

Demetrius Whitney,     individually )
and for a class,                    )
                                    )
                 Plaintiff,         )
                                    )          18-cv-4475
              -vs-                  )
                                    )          Judge Kennelly
Fauzia Khan, Thomas Dart, and       )
Cook County,                        )
                                    )
                                    )
                 Defendants.        )

     ORDER APPROVING CLASS ACTION SETTLEMENT
      This matter is before the Court for final approval of the Settlement

Agreement in this class action. The Court is familiar with the history of this

case and the issues raised. The Court has reviewed and considered the

Settlement Agreement and Plaintiffs’ Memorandum in Support of Approval

of Class Action Settlement and provided the parties and any class member

with an opportunity to be heard at a hearing on August 3, 2021. No one

has objected to the proposed settlement. Accordingly,

      IT IS ORDERED:

      1.     The Court has considered the strength of plaintiffs’ case

compared to the amount of defendants’ settlement offer, and assessed the

complexity, length, risk, uncertainty, and expense of the litigation, and finds
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that the settlement is fair, reasonable, and adequate in accordance with

Rule 23(e)(2) of the Federal Rules of Civil Procedure.

      2.    The Court has considered the affidavit from Christopher

Longley, the Chief Executive Officer of the administrator (Atticus

Administration LLC) submitted with Plaintiffs’ Memorandum in Support of

Approval of Class Action Settlement, dkt. 316-1, and has reviewed the

actual forms used to provide class notice and an opportunity to opt-out and

finds that the class has received appropriate notice in accordance with

Rule 23(e)(1) of the Federal Rules of Civil Procedure.

      3.    Class counsel has informed the Court that 447 valid claims

have been filed as of July 23, 2021. The Cook County Board will be

notified that the class settlement has received final approval by the Court

and will be requested to place final approval on the board agenda at their

next meeting on September 15, 2021. Shortly thereafter the administrator

will begin sending checks to class members. Based on the number of

claims filed by the deadline, members of the class will receive $1,500 and

members of the subclass will receive $1,800. There will be an opportunity

for second wave payments to members of the class and subclass.

      4.    The Court has also been informed that the administrator

received five opt-outs. The individuals are: Willie Luckett, Anthony

Jackson, Jerome Lawrence, Clifton Bridges, and Andrew Warren.


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      5.    The Court approves the payment of an incentive award of

$25,000 (twenty-five thousand dollars) to class representative Demetrius

Whitney, the payment of $20,000 (twenty thousand dollars) to subclass

representative Robert Burgess, and the payment of $15,000 (fifteen

thousand dollars) to subclass representative Brian Henry. The Court also

approves the payment of an additional $1,000 to the following deposed

members of the class or subclass: Joseph Townsend, Ayo Dunn, Deon

Mathis, Gerald Hacker, Vanessa Sanders, Noe Page, Tiffany Cox, Joseph

Mathis, Carlos Rodriguez, Andrew McCowen, Berl McKinnie, Antonio

Rosales, Jose Lucio, Andre Yates, Ronald Schwichtenberg, Arnold Scott,

Tiera Graves, Magdalena Kotwica, Lamika Overall, Vivan McGee,

Rosalina Solis, Joy Ramos, Katrina Holman, Shawnda Terry, Tekisha

Anderson, Darnel Junious, Brian Herron, Brendan Thornton, and Nicole

Morris.

      6.    The payment of fees to Plaintiffs’ counsel in the amount of

$1,126,228.28 and expenses in the amount of $92,460 is hereby approved

as fair and reasonable. The Court does not make any finding on the

reasonableness of the hourly rates cited in Plaintiffs’ Memorandum in

Support of Approval of Class Action Settlement, Dkt. 316 at 14.




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      7.    The Court grants final approval of the Settlement. The Court

retains jurisdiction to August 3, 2022 to implement the terms of the

Settlement Agreement.

Dated: August 5, 2021

                                      Enter:



                                      _____________________________
                                      Matthew F. Kennelly
                                      United States District Judge




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